      Case: 1:24-cr-00176-PAB Doc #: 42 Filed: 07/01/25 1 of 2. PageID #: 282




                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


UNITED STATES OF AMERICA                          )    CASE NO. 24 CR 00176
                                                  )
       PLAINTIFF                                  )    JUDGE PAMELA BARKER
                                                  )
v.                                                )
                                                  )
GEORGE BAYNES                                     )    MOTION TO APPROVE/
                                                  )    APPOINT INVESTIGATOR
       DEFENDANT                                  )


       Defendant George Baynes now requests that the court approve the appointment of a

private defense investigator at the governments cost. As the court is aware, Defendant Baynes is

indigent and has been assigned appointed legal counsel. Due to the nature and volume of

discovery in this case, undersigned counsel needs the assistance of an investigator. Further,

Defendant Baynes can not read, and therefore extra time has to be spent converting documents to

audio files and then reviewed with Defendant. This, also, requires substantial assistance.

Investigator Christopher Giannini of International Investigations is available and willing to

undertake this assignment. Mr. Giannini is a retired police officer with decades of experience as

a private investigator in criminal cases in both state and federal court.

       For the foregoing reasons, Defendant requests that Mr. Giannini and his firm International

Investigations be assigned as his investigator in this matter.

                                                       Respectfully submitted,

                                                       /s/ Michael P. Maloney
                                                       ____________________________________
                                                       MICHAEL P. MALONEY (0038661)
                                                       24441 Detroit Rd., Suite 200
                                                       Westlake, OH 44145
                                                       (440) 716-8562 (440) 716-8563 (Fax)
                                                       Mpmalo@hotmail.com
                                                       Attorney for Defendant
      Case: 1:24-cr-00176-PAB Doc #: 42 Filed: 07/01/25 2 of 2. PageID #: 283




                                CERTIFICATE OF SERVICE

               A copy of the foregoing Motion was served this 1st day of July, 2025 to the

United States Attorney, through the court’s electronic filing system.


                                                     /s/ Michael P. Maloney
                                                     ____________________________________
                                                     Michael P. Maloney (0038661)
                                                     Attorney for Defendant
